         Case 1:21-cr-00453-JDB Document 59 Filed 04/20/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
       v.                                      )       No. 21-453 (JDB)
                                               )
SEAN MCHUGH,                                   )
                                               )
                       Defendant.              )
                                               )

                                    MOTION TO CONTINUE TRIAL

       Defendant, Sean McHugh, through counsel, respectfully requests that the Court grant his

request for a continuance of the currently scheduled jury trial. Below are the reasons in support:

       (1) On January 28, 2022, the Court held a status conference where it granted the

            defense’s oral request for a continuance of the previously scheduled trial and set a

            new trial date for May 31, 2022, which was later re-set to June 9, 2022 due to a

            government scheduling conflict.

       (2) Undersigned counsel has been diligently preparing for trial, however, still has

            outstanding investigative matters that will not be completed before the currently

            scheduled trial date.

       (3) In addition to outstanding investigation, co-counsel Sabrina Shroff, will leave the

            Office of the Federal Public Defender at the end of April and undersigned counsel

            will need to find another co-counsel to assist with the case.

       (4) Lastly, sifting through relativity and evidence.com continues to be a priority and Mr.

            McHugh wishes for undersigned counsel to thoroughly investigate these two

            platforms before going to trial.

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           Case 1:21-cr-00453-JDB Document 59 Filed 04/20/22 Page 2 of 3




         (5) Undersigned counsel requests this continuance in good faith with the belief that

             there will be no more defense requests.

         (6) Undersigned counsel has discussed this request thoroughly with Mr. McHugh, who

             agrees and consents to this request as well as a further exclusion of time under the

             Speedy Trial Act.

         (7) Undersigned counsel has also discussed this request with government counsel, who

             advised that they do not oppose a continuance as long as Mr. McHugh agrees not to

             re-litigate the issue of detention. Although Mr. McHugh is unsure as to whether or

             not he will ask the Court for reconsideration on this matter, he does not wish to

             waive that right all together. However, after speaking with the government, they

             understand the reasons for the defense request for a continuance and do not oppose a

             continuance based on those reasons. The parties have conferred regarding re-

             scheduling the trial and propose a date in October if that is available to the Court. 1



                                                  Conclusion

        For these reasons, Mr. McHugh respectfully requests that the Court grant this motion for

a continuance of the currently scheduled trial.



                                                   Respectfully submitted,

                                                   A. J. KRAMER
                                                   FEDERAL PUBLIC DEFENDER

                                                             /s/


1
 The parties discussed earlier dates however due to both parties’ trial schedules, October is the earliest
month that is available to both the defense and the government.

                                                      2
Case 1:21-cr-00453-JDB Document 59 Filed 04/20/22 Page 3 of 3



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